          Case 2:11-cr-00114-RMP                   ECF No. 214                  filed 11/14/12                PageID.742 Page 1 of 1

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(12/04)


                                 United States District Court
                                                                          for

                                                  Eastern District of Washington



 U.S.A. vs.                    Dennis Lewis Whited                                         Docket No.                  2:11CR00114-002



                                    Petition for Action on Conditions of Pretrial Release


       COMES NOW, Anne Sauther, pretrial services officer, presenting an official report upon the conduct of defendant,
Dennis Lewis Whited, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting in the
Court at Spokane, Washington, on the 9th day of August 2011, under the following conditions:

Condition #21: Refrain from use or unlawful possession of a narcotic drug or other controlled substances, as defined in 21 U.S.C. § 802,
unless prescribed by a licensed medical practitioner.

Condition #28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program random urinalysis
testing shall be conducted through Pretrial Services, and shall not exceed six times per month. Defendant shall submit to any method of
testing required by the Pretrial Service Office for determining whether the Defendant is using a prohibited substance.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                         (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Dennis Whited had a urinalysis test on October 11 and October 25, 2012, which tested positive for methamphetamine and
amphetamine.

Violation #2: Dennis Whited failed to provide a urinalysis sample on November 8, 2012.

                               PRAYING THAT THE COURT WILL ORDER A SUMMONS


      RbCblVED                                                                                I declare under penalty of perjury that
 U.S. DISTRICT COURT                                                                          the foregoing is true and correct.
          NOV 1W012 aH'^p-                                                                    Executed on:         11/14/2012

UNITED STATES MAGISTRATE JUDGE                                                       by       s/Anne L. Sauther
      SPOKANE WASHINGTON
                                                                                              Anne L. Sauther
                                                                                              U.S. Probation Officer




 THE COURT ORDERS
 [ ]       No Action
 [)>]      The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [ ]       Other
                                                                                                 Signature of Judicial Officer


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                                                                                                 Date
